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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA OCT 0 3 202?

Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia

NEIBERGER, et al.,

Plaintiff

16-2193
VS Civil Action No. a

ISLAMIC REPUBLIC OF IRAN

Defendant

DEFAULT AND JUDGMENT BY CLERK

lt appearing that the above-named defendant has (have) failed to plead or otherwise
defend this action though duly served with summons and a copy of the complaint on the

11th dayor SePtember 4, 16

the plaintiff having been filed, it is the 3rd
Islamic Republic Of Iran

_and an affidavit on behalf of

October 922 |

day of

declared that defendant herein is (are) in

default.

WHEREFORE, upon request of the plaintiff and on affidavit of the amount due from the

defendant to the plaintiff, judgment for Nel berger, et al plaintiff

aviiinst Islamic Republic Of Iran
$455, 217,367

defendant is entered for

with interest

and costs.

ANGELA D. CAESAR, CLERK
3, MARK COATES

Deputy Clerk

